Case 1:19-md-02875-RMB-SAK   Document 2046   Filed 05/03/22   Page 1 of 13 PageID:
                                   69406
Case 1:19-md-02875-RMB-SAK   Document 2046   Filed 05/03/22   Page 2 of 13 PageID:
                                   69407
Case 1:19-md-02875-RMB-SAK   Document 2046   Filed 05/03/22   Page 3 of 13 PageID:
                                   69408
Case 1:19-md-02875-RMB-SAK   Document 2046   Filed 05/03/22   Page 4 of 13 PageID:
                                   69409
Case 1:19-md-02875-RMB-SAK   Document 2046   Filed 05/03/22   Page 5 of 13 PageID:
                                   69410
Case 1:19-md-02875-RMB-SAK   Document 2046   Filed 05/03/22   Page 6 of 13 PageID:
                                   69411
Case 1:19-md-02875-RMB-SAK   Document 2046   Filed 05/03/22   Page 7 of 13 PageID:
                                   69412
Case 1:19-md-02875-RMB-SAK   Document 2046   Filed 05/03/22   Page 8 of 13 PageID:
                                   69413
Case 1:19-md-02875-RMB-SAK   Document 2046   Filed 05/03/22   Page 9 of 13 PageID:
                                   69414
Case 1:19-md-02875-RMB-SAK   Document 2046   Filed 05/03/22   Page 10 of 13 PageID:
                                   69415
Case 1:19-md-02875-RMB-SAK   Document 2046   Filed 05/03/22   Page 11 of 13 PageID:
                                   69416
Case 1:19-md-02875-RMB-SAK   Document 2046   Filed 05/03/22   Page 12 of 13 PageID:
                                   69417
Case 1:19-md-02875-RMB-SAK   Document 2046   Filed 05/03/22   Page 13 of 13 PageID:
                                   69418
